960 F.2d 145
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roscoe James BROWN, Petitioner-Appellant,v.Martha WANNAMAKER;  Warden, DCI;  Parker Evatt, SouthCarolina Department of Corrections;  AttorneyGeneral of South Carolina, Respondents-Appellees.
    No. 92-6068.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 6, 1992Decided:  April 20, 1992
    
      Roscoe James Brown, Petitioner Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before ERVIN, Chief Judge, and MURNAGHAN and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Roscoe James Brown seeks to appeal the district court's order dismissing this action brought under 28 U.S.C. § 2254 (1988).  Petitioner's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Petitioner that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Petitioner failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841, 846 (4th Cir. 1985);   see generally Thomas v. Arn, 474 U.S. 140 (1985).  Petitioner has waived appellate review by failing to file objections after receiving proper notice.  We accordingly deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    